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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NORTH DAKOTA


In re:
                                                      Case No. 16-30672
Vortex Drain Tiling LLC,                              Chapter 7

               Debtor.


             ORDER GRANTING MOTION FOR RULE 2004 EXAMINATIONS

         The Bankruptcy Trustee filed a motion to conduct examinations pursuant to Rule

2004 of the Federal Rules of Bankruptcy Procedure. Upon review of the Motion, the Court

finds cause for granting it. Therefore, IT IS ORDERED that the motion [Doc. 57] is

GRANTED.        Movant is authorized to examine a representative of Keller Paving &

Landscaping, Inc. and Blue Earth County Drainage Authority, and to issue subpoenas as

provided under Rule 9016 to compel testimony and documents within the scope of Rule

2004. It is also ORDERED that the examinations shall be conducted at a time and

location convenient to all parties.

         Dated this 1st day of May, 2018.



                                                /s/ Shon Hastings
                                                Shon Hastings, Judge
                                                United States Bankruptcy Court
